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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

BULGARI, S.p.A.,
                                                       Case No. 19-cv-02983
                       Plaintiff,
                                                       Judge Robert W. Gettleman
       v.
                                                       Magistrate Judge M. David Weisman
YUAN HE, et al.,

                       Defendants.


                              SATISFACTION OF JUDGMENT

       WHEREAS, a judgment was entered in the above action on July 9, 2019 [47], in favor of

Plaintiff Bulgari, S.p.A. (“Bulgari”) and against the Defendants Identified in Schedule A in the

amount of one million dollars ($1,000,000) per Defaulting Defendant, and Bulgari acknowledges

payment of an agreed upon damages amount, costs, and interest and desires to release this

judgment and hereby fully and completely satisfy the same as to the following Defendant:

              Defendant Name                                        Line No.
                  Genesun                                             126

       THEREFORE, full and complete satisfaction of said judgment as to the above-referenced

Defendant is hereby acknowledged, and the Clerk of the Court is hereby authorized and directed

to make an entry of the full and complete satisfaction on the docket of said judgment.
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Dated this 10th day of January 2020.   Respectfully submitted,

                                       /s/ Allyson M. Martin__________
                                       Amy C. Ziegler
                                       Justin R. Gaudio
                                       Allyson M. Martin
                                       Greer, Burns & Crain, Ltd.
                                       300 South Wacker Drive, Suite 2500
                                       Chicago, Illinois 60606
                                       312.360.0080 / 312.360.9315 (facsimile)
                                       aziegler@gbc.law
                                       jgaudio@gbc.law
                                       amartin@gbc.law

                                       Counsel for Plaintiff Bulgari, S.p.A.




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